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                                       No. 14-793C
                                  (Filed March 20, 2015)
                                 NOT FOR PUBLICATION
                                                                   FILED
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                                         *                        MAR 2.0 2015
                                         *                       U.S. COURT OF
FULTON GRIFFITH,                         *                      FEDERAL CLAIMS
                                         *
                    Plaintiff,           *
                                         *
      V.                                 *
                                         *
THE UNITED STATES,                       *
                                         *
                    Defendant.           *
                                  *
* * * * * * * * * * * * * * * * * *


                                        ORDER

       On March 11, 2015, the Clerk's office received a document from plaintiff, who
is proceeding prose, titled "Under Bell v. Hood, supra Doctrine Ajust [sic] Remedy
and Grant Necessary Relief." Despite the lack of clarity in the title of this
document, the Court has decided to treat it as a motion for reconsideration. The
Clerk's office should file this document accordingly.

       On January 30, 2015, the Court issued an opinion granting defendant's
motion to dismiss this case for lack of subject-matter jurisdiction under Rule
12(b)(l) of the Rules of the United States Court of Federal Claims (RCFC). See
Mem. Op . and Order, ECF No. 12. The Court also denied plaintiff's application to
proceed in forma pauperis because plaintiff had violated the so-called "three strikes"
provision in 28 U.S.C. § 1915(g). Id. Judgment was entered that day. See
Judgment Entered, ECF No. 13.

        Plaintiff's motion for reconsideration, now before the Court, is DENIED for
three reasons: first, plaintiff has not met the standards for reconsideration under
RCFC 59; second, plaintiff's argument is meritless; and, third, plaintiff has not paid
the filing fee due in this case and thus has failed to prosecute the case pursuant to
RCFC 41(b).
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       Under RCFC 59, the court may grant a motion for reconsideration "for any
reason for which a new trial has heretofore been granted in an action at law in
federal court" or "for any reason for which a rehearing has heretofore been granted
in a suit in equity in federal court."l RCFC 59(a)(l)(A)-(B). To demonstrate the
applicability of RCFC 59, the moving party must show "(1) the occurrence of an
intervening change in the controlling law; (2) the availability of previously
unavailable evidence; or (3) the necessity of allowing the motion to prevent manifest
injustice." Osage Tribe of Indians of Okla. v. United States, 97 Fed. Cl. 345, 348
(2011). It is not sufficient for the moving party to "merely reassertO ... arguments
previously made [and] carefully considered by the court." Principal Mut. Life Ins.
Co. v. United States, 29 Fed. Cl. 157, 164 (1993) (internal quotation marks and
citation omitted).

       In his motion for reconsideration, plaintiff begins by citing to the United
States Supreme Court case Bell v. Hood, 327 U.S. 678 (1946), for the proposition
that a court is required to "ajust [sic] the remedy and grant the necessary relief
when federal question [sic] are concerned." Mot. for Recons. at 1. In this case,
plaintiff states that the federal question at issue is whether sections 1, 3, 4, and 5 of
the 1866 Civil Rights Act "createO a contract between [the] United States and
private citizens." Id. In support of this assertion, plaintiff cites the Supreme Court
decisions of Louisiana ex rel. Nelson v. Police Jury of the Parish of St. Martin, 111
U.S. 716 (1884), and Houston & Texas Central R.R. Co. v. Texas, 177 U.S. 66 (1900),
which he claims "provid[e] the legal standard for civil statu[t]es, creating contracts
between the government and private citizens." Id. at 2. Plaintiff describes the
Court's prior order dismissing his case as having "concluded" that 18 U.S.C. § 242
"did not constitute a contract or money claim for violations of its provisions,'' and
thus was outside the jurisdiction of the Court. Id. at 1.

       Although somewhat difficult to discern, plaintiff's filing appears to be
arguing that while the Court previously dismissed his claim based on 18 U.S.C.
§ 242, the Court did not adequately address his claim that the 1866 Civil Rights Act
created a contract between the government and a private citizen upon which the
Court's jurisdiction could be based. Plaintiff misreads the Court's prior opinion
dismissing his case since his 1866 Civil Rights Act claim was considered --- and
ultimately rejected --- by the Court. See Mem. Op. and Order at 4. The Court's
opinion noted that plaintiff had conceded in his response to the government's
motion to dismiss that the Court lacked jurisdiction to entertain his 1866 Civil
Rights Act claim. Id. Moreover, the Court held that this concession was
"warranted" since plaintiff "has not identified any money-mandating statute,
regulation, or constitutional provision that would support our jurisdiction." Id.

1 A third ground, "the showing of satisfactory evidence, cumulative or otherwise,
that any fraud, wrong, or injustice has been done to the United States," RCFC
59(a)(l)(C), has no bearing on this matter.
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Because plaintiff failed to demonstrate an intervening change in the controlling
law, the availability of previously unavailable evidence, or a manifest injustice, see
Osage Tribe of Indians of Okla., 97 Fed. Cl. at 348, he does not meet the standard
for a motion for reconsideration. Rather, he "merely reasserts ... arguments
previously made [and] carefully considered by the court." Principal Mut. Life Ins.
Co., 29 Fed. Cl. at 164.

       Even if plaintiff could meet the standard for reconsideration, his claim still
fails on the merits. Plaintiff merely asserts that sections 1, 3, 4, and 5 of the 1866
Civil Rights Act "createO a contract between [the] United States and private
citizens," Mot. for Recons. at 1, without actually identifying a money-mandating
provision --- in the 1866 Civil Rights Act or elsewhere --- as is required for this court
to have jurisdiction. See LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
1995); Marlin v. United States, 63 Fed. Cl. 475, 476 (2005). It is "well settled" that
this court does not have jurisdiction over civil rights claims stemming from 42
U.S.C. § 1981 or§ 1983.2 Osborn v. United States, 47 Fed. Cl. 224, 232 (2000); see
also Marlin, 63 Fed. Cl. at 4 76; Wildman v. United States, 28 Fed. Cl. 494, 495
(1993). Furthermore, the 1866 Civil Rights Act involved remedial mechanisms for
violations of rights by state government officers, not federal government officers.
See George Rutherglen, The Improbable History of Section 1981: Clio Still Bemused
and Confused, 55 Sup. Ct. Rev. 303, 317-22 (2003) (noting that the 1866 Civil
Rights Act prohibited "discrimination by state officials").

        Plaintiff claims that the Supreme Court cases of Louisiana ex rel. Nelson v.
Police Jury of the Parish of St. Martin and Houston & Texas Central R.R. Co. v.
Texas, "provid[e] the legal standard for civil statu[t]es, creating contracts between
the government and private citizens." Mot. for Recons. at 2. In Louisiana ex rel.
Nelson, however, the Court did not find that a "civil statute" had created a contract
between the government and an individual; rather, the case involved warrants
between an individual and a municipal corporation. Louisiana ex rel. Nelson, 111
U .S. at 721-22. In Houston & Tex. Cent. R.R. Co., the State of Texas brought an
action to recover amounts due on bonds that the defendant railroad company had
issued to the state, which was complicated by the fact that various state laws had
been passed to provide relief to indebted railroad companies. Houston & Tex. Cent.

2  Today, the 1866 Civil Rights Act is primarily embodied in 42 U.S.C. §§ 1981,
1982, and 1983. See Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 712 (1989)
(referring to the Civil Rights Act of 1866 and the Civil Rights Act of 1871 as "the
precursors of§§ 1981 and 1983 respectively"); General Bldg. Contractors Ass'n Inc.
v. Pennsylvania, 458 U.S. 375, 383-84 (1982) ("The operative language of [42 U.S.C.
§§ 1981 & 1982] originated in§ 1 of the Civil Rights Act of 1866"); John H.
Franklin, The Civil Rights Act of 1866 Revisited, 41 Hastings L.J. 1135, 1136 (1990)
("[T]he principal provisions of the Civil Rights Act of 1866 became section 1981 of
the Revised United States Code") .
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R.R. Co., 177 U.S. at 67-68. Nowhere in either of these cases does the Supreme
Court discuss "civil statutes creating contracts" between individuals and the
government. Additionally, plaintiff repeatedly cites to Bell v. Hood, 327 U.S. 678
(1946), claiming that the case requires a court to "ajust [sic] the remedy and grant
the necessary relief when federal question [sic] are concerned." Mot. for Recons. at
1. While Bell v. Hood does discuss federal district courts adjusting remedies when
federally protected rights are infringed, see Bell, 327 U.S. at 684, there is no remedy
to adjust in this case because plaintiff has failed to demonstrate that the Court has
jurisdiction. A contract claim within our jurisdiction does not exist merely because
a plaintiff calls something --- in this instance, provisions of the 1866 Civil Rights
Act --- a contract. Nothing in that statute even remotely suggests that a contract
had been created with citizens, much less one for which money damages may be
obtained in our court.

        Finally, plaintiff has neglected to pay the filing fee required in this case. In
dismissing the case originally, the Court noted that plaintiff had violated the so-
called "three strikes" rule and thus denied plaintiff's application to proceed in forma
pauperis. Mem . Op. and Order at 5. In his motion for reconsideration, plaintiff
claims that, under Bell v. Hood, the Court must "allow plaintiff [two] weeks to pay
filing fees," Mot. for Recons. at 2. The cited case, however, discusses neither filing
fees nor two week extensions for payment of such fees. Regardless, even if such a
rule existed, it has been well over two weeks since the Court denied plaintiff's in
forma pauperis motion. As a consequence, the case could also be involuntarily
dismissed for failure to prosecute, under RCFC 41(b), further confirming that denial
of the motion for reconsideration is warranted.

      Accordingly, for the reasons stated above, plaintiff's motion for
reconsideration is DENIED.

IT IS SO ORDERED.




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